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 6                                 UNITED STATES DISTRICT COURT

 7                                        DISTRICT OF NEVADA

 8 UNITED STATES OF AMERICA,                          )
                                                      )
 9                         Plaintiff,                 )
                                                      )
10          v.                                        ) 2:11-CR-434-LDG-(PAL)
                                                      )
11 DELYANA NEDYALKOVA,                                )
                                                      )
12                         Defendant.                 )
13                              PRELIMINARY ORDER OF FORFEITURE

14           This Court finds that on November 25, 2013 , defendant DELYANA NEDYALKOVA pled

15 guilty to Count Two of a Four-Count Superseding Criminal Indictment charging her with Conspiracy

16 to commit Wire Fraud in violation of Title 18, United States Code, Sections 1343 a nd 1349.

17 Superseding Indictment, ECF No. 243; Plea Agreement, ECF No. 461; Change of Plea Minutes, ECF

18 481.

19           This Court finds defendant DELYANA NEDYALKOVA agreed to the forfeiture of the

20 property set forth in the Plea Agreement and the Forfeiture Allegation of the Superseding Criminal

21 Indictment. Superseding Indictment, ECF No. 243; Plea Agreement, ECF No. 461; Change of Plea

22 Minutes, ECF 481.

23           This Court finds, pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2), the United States of America

24 has shown the requisite nexus between property set forth in the Plea Agreement and the Forfeiture

25 Allegation of the Superseding Criminal Indictment and the offense to which defendant DELYANA

26 NEDYALKOVA pled guilty.
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 1            The following assets are subject to forfeiture pursuant to Title 18, United States Code, Section

 2 981(a)(1)(C) and Title 28, United States Code, Section 2461(c) and Title 21, U nited States Code,

 3 Section 853(p):

 4                  1. $350.00 (received from Vladimir Budestean);

 5                  2. $200.00 (received from Vladimir Budestean);

 6                  3. $3.04 (recovered from 2002 Mercedes CLK 55, Budestean);

 7                  4. $2,155.00 seized during search of 4225 Dover Place, Las Vegas, NV residence of

 8                      Budestean and Nedyalkova);

 9                  5. Currency on Eugeni Stoytchev at time of arrest: $2,512.00 United States Currency;

10                      1-$0.50 euro coin (valued at $0.65 U.S.); 1-$l0 Bulgarian Leva (valued at $6.68

11                      U.S.); 1-$2 Bulgarian Leva (valued at $1.34 U.S.); 4-$1 Bulgarian Leva (valued at

12                      $3.67 U.S.); 1-$0.50 Bulgarian Stotinki (valued at $0.33 U.S.); 3-$0.20 Bulgarian

13                      Stotinki (valued at $.40 U .S.);10-10 denomination Bulgarian Stotinki (valued at

14                      $0.67 U.S.);

15                  6. 4225 Dover Place, Las Vegas, Nevada (residential home, Clark County Parcel No.

16                      139-31-411-l09);    Owners:     Vladimir   Budestean     and   Mariya    Ytmkerova-

17                      Nedyalkova;

18                  7. Samsung Television (Serial Number LN46B55OK1F w/stand, power cord, remote

19                      and cables) (consent search of Oleh Rymarchuk's residence);

20                  8. Laptop Macbook Air (serial #C02GMBLPDJWV) (consent search of Oleh

21                      Rymarchuk's residence);

22                  9. Laptop Macbook Pro (serial #C02GD1VPDV7L) (consent search of Oleh

23                      Rymarohuk's residence);

24                  10. Powershot A603 w/case (Serial #4136204571) (consent search of Oleh

25                      Rymarchuk's residence);

26 . . .

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 1                  11. Apple Time Capsule (1TB) w/cord (Serial #6F94201GACD) (consent search of

 2                      Oleh Rymarchuk's residence);

 3                  12. Red Cobra Model #CA-380 .380 caliber pistol (Serial #CP042369 (seized from

 4                      Bertly Ellazar's residence); and

 5                  13. An in personam criminal forfeiture money judgment of $84,000.00 in United States

 6                      Currency

 7 (all of which constitutes “property”).

 8           This Court finds the United States of America is now entitled to, and should, reduce the

 9 aforementioned property to the possession of the United States of America.

10           NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DE CREED that the

11 United States of America should seize the aforementioned property.

12           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED all right, title, and interest of

13 DELYANA NEDYALKOVA in the aforementioned property is forfeited and is vested in the United

14 States of America and shall be safely held by the United States of America until further order of the

15 Court.

16          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the United States of America

17 shall publish for at least thirty (30) consecutive days on the official internet government forfeiture

18 website, www.forfeiture.gov, notice of this Order, which shall describe the forfeited property, state the

19 time under the applicable statute when a petition contesting the forfeiture must be filed, and state the

20 name and contact information for the government attorney to be served with the petition, pursuant to

21 Fed. R. Crim. P. 32.2(b)(6) and Title 21, United States Code, Section 853(n)(2).

22          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that any individual or entity

23 who claims an interest in the aforementioned property must file a petition for a hearing to adjudicate

24 the validity of the petitioner’s alleged interest in the property, which petition shall be signed by the

25 petitioner under penalty of perjury pursuant to Title 21, United States Code, Section 853(n)(3) and

26 Title 28, United States Code, Section 1746, and shall set forth the nature and extent of the petitioner’s

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 1 right, title, or interest in the forfeited property and any additional facts supporting the petitioner’s

 2 petition and the relief sought.

 3          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a petition, if any, must be filed

 4 with the Clerk of the Court, 333 Las Vegas Boulevard South, Las Vegas, Nevada 89101.

 5          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a copy of the petition, if any,

 6 shall be served upon the Asset Forfeiture Attorney of the United States Attorney’s Office at the

 7 following address at the time of filing:

 8                  Michael A. Humphreys
                    Assistant United States Attorney
 9                  Daniel D. Hollingsworth
                    Assistant United States Attorney
10                  Lloyd D. George United States Courthouse
                    333 Las Vegas Boulevard South, Suite 5000
11                  Las Vegas, Nevada 89101.
12          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the notice described herein

13 need not be published in the event a Declaration of Forfeiture is issued by the appropriate agency

14 following publication of notice of seizure and intent to administratively forfeit the above-described

15 property.

16          DATED this ___ day of ____________, 2014.

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                                                    UNITED STATES DISTRICT JUDGE
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